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 7   Attorney for Jimmy David Washington, Jr.

 8
                                 UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:18-cr-00384-APG-EJY

12                  Plaintiff,                             STIPULATION TO CONTINUE
                                                         REPLY DEADLINE TO MOTION TO
13          v.
                                                                      SEVER
14   JIMMY DAVID WASHINGTON, JR.,                                 (Fifth Request)

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
18   Trutanich, United States Attorney, and Christopher Burton, Assistant United States Attorney,
19   counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
20   and Kathryn C. Newman, Assistant Federal Public Defender, counsel for Jimmy David
21   Washington, Jr., that the reply to Motion to Sever currently due on January 11, 2021 be vacated
22   and reset to January 25, 2021.
23          This Stipulation is entered into for the following reasons:
24          1.      The parties are working on a possible resolution.
25          2.      Counsel for the government has no objection to the continuance.
26
         Case 2:18-cr-00384-APG-EJY Document 86 Filed 01/11/21 Page 2 of 3




 1          3.      The additional time requested will not impact the current trial setting and will
 2   conserve judicial resources in the event a resolution is reached.
 3          4.      The parties agree to the continuance.
 4          This is the fifth request for a continuance of the reply deadline to motion to sever.
 5          DATED this 11th day of January, 2021.
 6
 7    RENE L. VALLADARES                              NICHOLAS A. TRUTANICH
      Federal Public Defender                         United States Attorney
 8
 9      /s/ Kathryn C. Newman                           /s/ Christopher Burton
      By_____________________________                 By_____________________________
10    KATHRYN C. NEWMAN                               CHRISTOPHER BURTON
      Assistant Federal Public Defender               Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:18-cr-00384-APG-EJY
 4
                   Plaintiff,                           ORDER
 5
            v.
 6
     JIMMY DAVID WASHINGTON, JR.,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the reply to Motion to Sever currently due on

11   January 11, 2021 be vacated and reset to January 25, 2021.

12          DATED this 11th day of January, 2021.

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                                                 UNITED STATES MAGISTRATE JUDGE
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